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                               UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

ROBERT W. PEAK and CINDY J.
HURRELBRINK PEAK, Individually and
On Behalf of All Others Similarly Situated,


                 Plaintiffs,
v.                                                        Civil Case No. 3:18-CV-02067-L


ZION OIL & GAS, INC., VICTOR G.
CARRILLO, and MICHAEL B.
CROSWELL, JR.,

                  Defendants.




     ORDER APPOINTING LEAD PLAINTIFFS AND APPROVING LEAD COUNSEL

       Before the court is the Motion of George P. Rambo for Appointment as lead Plaintiff and

Approval of Counsel (Doc 9), filed October 9, 2018; and the Motion of Dennis Robertson and

Melody Guy for Appointment as Lead Plaintiffs and Approval of Lead Counsel (Doc. 13), filed

October 9, 2018. On October 29, 2018, George P. Rambo filed a Notice of Non-Opposition (Doc.

16) to Dennis Robertson’s and Melody Guy’s Motion for Appointment as Lead Plaintiffs and

Approval of Lead Counsel, and Riley Crumley and Virginia Victoria Rideout withdrew their

Motion for Appointment as Lead Plaintiffs and Approval of Lead Counsel. After reviewing the

parties’ motions, briefs, and other filings regarding this matter, the court determines that the

Motion of Dennis Robertson and Melody Guy for Appointment as Lead Plaintiffs and Approval

of Lead Counsel (Doc. 13) should be and is hereby granted, and that the Motion of George P.

Rambo for Appointment as lead Plaintiff and Approval of Counsel (Doc 9) is moot and denied
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for this reason in light of George P. Rambo’s Notice of Non-Opposition. Accordingly, the court

orders as follows:

   1. Dennis Robertson (“Robertson”) and Melody Guy (“Guy”) are appointed as Lead
      Plaintiffs in the above captioned action, as both satisfy the requirements for Lead Plaintiffs
      pursuant to Section 21D(a)(3)(B)(iii) of the Private Securities Litigation Reform Act of
      1995 (the “PSLRA”).

   2. Lead Plaintiffs, pursuant to Section 21D(a)(3)(B)(v) of the PSLRA, have selected and
      retained Pomerantz LLP as Lead Counsel and The Briscoe Law Firm, PLLC as Liaison
      Counsel for the Class in the action, and Lead Plaintiffs’ retention of the foregoing counsel
      is approved.

   3. Lead Counsel shall have the following responsibilities and duties, which shall be carried
      out either personally or through counsel whom Lead Counsel shall designate to:

              (a)     coordinate the briefing and argument of motions;

              (b)     coordinate the conduct of discovery proceedings;

              (c)     coordinate the examination of witnesses in depositions;

              (d)     coordinate the selection of counsel to act as a spokesperson at pretrial
                      conferences;

              (e)     call meetings of Plaintiffs’ counsel as they deem necessary and appropriate
                      from time to time;

              (f)     coordinate all settlement negotiations with counsel for Defendants;

              (g)     coordinate and direct the pretrial discovery proceedings and the preparation
                      for trial and the trial of this matter and to delegate work responsibilities to
                      selected counsel as may be required; and

              (h)     supervise any other matters concerning the prosecution, resolution or
                      settlement of this Action.

   4. To prevent duplicative pleadings or discovery by Plaintiffs, no motion, request for
      discovery, or other pretrial proceedings shall be initiated or filed by any Plaintiffs without
      the approval of Lead Counsel. No settlement negotiations shall be conducted without the
      approval of Lead Counsel.

   5. Counsel in any related action that is consolidated with this Action shall be bound by this
      organization of Plaintiffs’ counsel.

   6. Lead Counsel shall have the responsibility of receiving and disseminating court orders and
      notices.
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7. Lead Counsel shall be the contact between Plaintiffs’ counsel and shall direct and
   coordinate the activities of Plaintiffs’ counsel.

8. Defendants shall effect service of papers on Plaintiffs by serving a copy of same on Lead
   Counsel by overnight mail service, electronic or hand delivery. Plaintiffs shall effect
   service of papers on Defendants by serving a copy of same on Defendants’ counsel by
   overnight mail service, electronic or hand delivery.

9. During the pendency of this litigation, or until further order of this court, the parties shall
   take reasonable steps to preserve all documents within their possession, custody, or control,
   including computer-generated and stored information, and materials such as computerized
   data and electronic mail, containing information that is relevant or may lead to the
   discovery of information relevant to the subject matter of the pending litigation.


It is so ordered this 16th day of November, 2018.


                                                  _________________________________
                                                  Sam A. Lindsay
                                                  United States District Judge
